     CASE 0:10-cr-00339-PJS-ECW        Doc. 298    Filed 07/06/11   Page 1 of 5




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                           Crim. No. 10-339(6) (PJS/JJK)

            Plaintiff,

v.
                                            REPORT AND RECOMMENDATION
6. Cruz Rosales,

           Defendant.


Jeffrey S. Paulsen, Esq., Assistant United States Attorney, counsel for Plaintiff.

Michael C. Hager, Esq., Hager Law Office, counsel for Defendant Rosales.


      This matter is before the Court on Defendant Cruz Rosales‟s Motion to

Dismiss the Indictment (Doc. No. 278). This Court held a hearing on the motion

on July 6, 2011. Neither party requested additional briefing on the issue. This

matter was referred to the undersigned for a Report and Recommendation

pursuant to 28 U.S.C. § 636 and D. Minn. Loc. R. 72.1. For the reasons stated

below, this Court recommends that Defendant‟s motion be denied.

                                 BACKGROUND

      The Second Superseding Indictment charges Defendant Rosales(6) and

four Co-Defendants with conspiracy to distribute methamphetamine, cocaine,

and marijuana in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A).1 (Doc. No.


1
     There were six Defendants in the original Indictment and seven
Defendants in the Superseding Indictment. Those Defendants listed in the
        CASE 0:10-cr-00339-PJS-ECW      Doc. 298    Filed 07/06/11   Page 2 of 5




239.) Defendant Rosales is also charged with one count of distribution of

methamphetamine in violation of Title 21, U.S.C. §§ 841(a)(1) and 841(b)(1)(A).

(Id.)

        Defendant makes two arguments in support of his motion to dismiss the

Second Superseding Indictment. First, he argues that there is an insufficient

evidentiary basis underlying the allegations in Counts 1 and 7 of the Indictment.

To that effect, Defendant contends that the “Second Superseding Indictment

does not implicate Defendant Rosales in the single conspiracy alleged at Count

1, and there is insufficient basis for such an allegation.” (Doc. No. 278.)

Second, he appears to argue that the Indictment is deficient because it alleges a

single conspiracy with multiple objects–i.e., the distribution of methamphetamine,

cocaine, and marijuana. The Government opposes these positions. This Court

agrees with the Government and finds that neither argument warrants dismissal.

        As to Defendant‟s contention that there is an insufficient evidentiary basis

for the allegations underlying Counts 1 and 7 of the Indictment, “[i]t has long

been settled that an indictment is not open to challenge on the ground that there

was inadequate or insufficient evidence before the grand jury.” United States v.

Nelson, 165 F.3d 1180, 1182 (8th Cir. 1999) (citing Costello v. United States, 350

U.S. 359, 363–64 (1956), and United States v. Cady, 567 F.2d 771, 776 (8th Cir.

1977)).

Second Superseding Indictment retained their Defendant number designations
from the preceding Indictments.

                                           2
      CASE 0:10-cr-00339-PJS-ECW         Doc. 298    Filed 07/06/11   Page 3 of 5




      Further, Rule 7(c)(1) of the Federal Rules of Criminal Procedure requires

that an indictment be a “plain, concise, and definite written statement of the

essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). “An

indictment is sufficient „if it contains all of the essential elements of the offense

charged, fairly informs the defendant of the charges against which he must

defend, and alleges sufficient information to allow a defendant to plead a

conviction or acquittal as a bar to subsequent prosecution.‟” United States v.

Summers, 137 F.3d 597, 601 (8th Cir.1998) (quoting United States v. Wessels,

12 F.3d 746, 750 (8th Cir. 1993), cert. denied, 513 U.S. 831 (1994)). Here,

Count 1 adequately sets forth the elements of conspiracy to distribute

methamphetamine, cocaine, and marijuana, references the statutes at issue, and

contains references to the dates, people, and places involved. And Defendant is

one of five Defendants whose name appears in upper-case, bold type in the

introductory paragraph to Count 1 of the Second Superseding Indictment. As to

Count 7, Defendant is one of two Defendants whose name appears in upper-

case, bold type in the introductory paragraph to that Count. Like Count 1, Count

7 adequately sets forth the statutory elements, contains references to the dates

and places involved in the distribution of methamphetamine, and references the

statutes at issue. Accordingly, Defendant Rosales‟s motion to dismiss based on

insufficient allegations against Defendant, or insufficient evidence underlying the

allegations in Counts 1 and 7 of the Second Superseding Indictment should be

denied.

                                           3
      CASE 0:10-cr-00339-PJS-ECW         Doc. 298    Filed 07/06/11   Page 4 of 5




      And as to Defendant‟s argument that the Indictment unlawfully charges a

drug conspiracy with multiple objects–i.e., the distribution of three different types

of narcotics: methamphetamine, cocaine, and marijuana–this Court does not find

it impermissible for the Government to charge Defendant in this manner. “Where

a statute specifies two or more ways in which an offense may be committed [ ] all

may be alleged in the conjunctive in one count of the indictment, and proof of any

one of the acts conjunctively charged may establish guilt.” United States v.

Mohr, 728 F.2d 1132, 1135 (8th Cir. 1984), cert. denied, 469 U.S. 843 (1984).

“As long as the crime and the elements of the offense that sustain the conviction

are fully and clearly set out in the indictment, the right to a grand jury is not

normally violated by the fact that the indictment alleges more crimes or other

means of committing the same crime.” United States v. Miller, 471 U.S. 130, 105

(1985). Here, Count 1 adequately sets forth the elements of conspiracy to

distribute methamphetamine, cocaine, and marijuana, references the statutes at

issue, and contains references to the dates, people, and places involved.

Accordingly, this Court concludes that Defendant‟s motion to dismiss the Second

Superseding Indictment should be denied.

                                RECOMMENDATION

      Based on the files, records, and proceedings herein, IT IS HEREBY

RECOMMENDED that:

      1.     Defendant Rosales‟s Motion to Dismiss the Indictment (Doc. No.

278), be DENIED.

                                           4
     CASE 0:10-cr-00339-PJS-ECW        Doc. 298   Filed 07/06/11   Page 5 of 5




Date: July 6, 2011
                                              s/Jeffrey J. Keyes
                                             JEFFREY J. KEYES
                                             United States Magistrate Judge


Under D. Minn. LR 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by July
18, 2011, a writing which specifically identifies those portions of this Report to
which objections are made and the basis of those objections. Failure to comply
with this procedure may operate as a forfeiture of the objecting party‟s right to
seek review in the Court of Appeals. A party may respond to the objecting
party‟s brief by July 22, 2011. All briefs filed under this rule shall be limited to
3500 words. A judge shall make a de novo determination of those portions of the
Report to which objection is made. This Report and Recommendation does not
constitute an order or judgment of the District Court, and it is therefore not
appealable directly to the Circuit Court of Appeals.

Unless the parties stipulate that the District Court is not required by 28 U.S.C.
§ 636 to review a transcript of the hearing in order to resolve all objections made
to this Report and Recommendation, the party making the objections shall timely
order and file a complete transcript of the hearing within ten days of receipt of
the Report.




                                         5
